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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

 JOHN DOE 1, et al.                           )
                                              )
               Plaintiffs,                    )
                                              )
         v.                                   ) Case No. 25-300
                                              )
 U.S. OFFICE OF THE DIRECTOR OF               )
 NATIONAL INTELLIGENCE, et al.                )
                                              )
               Defendants.                    )

              PLAINTIFFS’ MOTION TO PROCEED PSEUDONYMOUSLY

       Plaintiffs, through undersigned counsel, respectfully move the Court for an order allowing

Plaintiffs to proceed pseudonymously in this matter for the reasons set forth in the accompanying

Memorandum of Law filed contemporaneously with this Motion. A proposed order is attached.

Dated: February 17, 2025                    Respectfully submitted,

                                            /s/ Kevin T. Carroll
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2025, a copy of the foregoing was mailed first class

mail, postage prepaid, to:

       U.S. Office of the Director of National Intelligence
       Office of General Counsel
       1500 Tysons McLean Dr.
       McLean, VA 22102

       Central Intelligence Agency
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                                             /s/ Kevin T. Carroll
                                             Kevin T. Carroll, Esq.




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